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 7                           UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9

10   DANIEL RUDY A., 1                                  Case No. 2:21-cv-03074 AFM
11                          Plaintiff,
                                                        JUDGMENT
12
             v.
13
     KILOLO KIJAKAZI, Acting
14   Commissioner of Social Security,
15
                            Defendant.
16

17          In accordance with the Memorandum Opinion and Order Reversing and

18   Remanding Decision of Commissioner filed concurrently herewith,

19          IT IS ORDERED AND ADJUDGED that the decision of the Commissioner

20   of Social Security is reversed and the matter is remanded to the Commissioner for

21   further proceedings consistent with the Order.

22   DATED: 7/8/2022

23
                                                 ____________________________________
24                                                    ALEXANDER F. MacKINNON
25                                               UNITED STATES MAGISTRATE JUDGE
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     1  Plaintiff’s name has been partially redacted in accordance with Federal Rule of Civil Procedure
     5.2(c)(2)(B) and the recommendation of the Committee on Court Administration and Case
28   Management of the Judicial Conference of the United States.
